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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CRIMINAL MINUTES - ARRAIGNMENT
Case Number: 8:20-CR-00146-DOC Recorder: Deborah Parker Tv Date: 10/19/2020
Present: The Honorable Karen E. Scott, U.S. Magistrate Judge

Court Clerk: Jazmin Dorado Assistant U.S. Attorney: Mark Takla

States of America v. tto Present for s

Fong ine Corrigan, Panel
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PROCEEDINGS: ARRAIGNMENT OF DEFENDANT(S) AND ASSIGNMENT OF CASE AND INITIAL
APPEARANCEAND. APPOINTMENT OF COUNSEL HEARING.

Defendant is arraigned.

Defendant is given a copy of the Information.

Defendant acknowledges receipt of a copy and waives reading thereof.

The Court appoints Katherine Corrigan, CJA Panel, as counsel for all further proceedings for defendant.
Financial affidavit is submitted and filed.

Defendant's first appearance. ‘
Waiver of Indictment submitted, accepted by the court and filed.

Defendant pleads not guilty to all counts in the Information.

. This case is assigned to the calendar of District Judge David O. Carter.
It is ordered that the following date(s) and time(s) are set:
Jury Trial 12/8/2020 at 8:30 AM
Status Conference 11/16/2020 at 1:30 PM
Defendant and counsel are ordered to appear before said judge at the time and date indicated.

Trial estimate: 10 days.
Defendant and defense counsel are appearing by video. Advisement of Rights Form (CR10) and Consent to VTC form
(CR29) filed.

Defendant waives the right to a detention hearing until such time as his release from state court becomes imminent.

First Appearance/Appointment of Counsel: 00 : 04
PIA: 00: 04
Initials of Deputy Clerk: JD

 

cc: Statistics Clerk, PSALA PSASA, USMSA

 

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